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                                                     UNITED STATES DISTRICT COURT
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                                                          DISTRICT OF NEVADA
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                                                                       2:09-CR-262 JCM (RJJ)
                  8     UNITED STATES OF AMERICA,

                  9                     Plaintiff,
                10      v.
                11
                        ADRIAN FUENTES GARCIA,
                12
                                        Defendants.
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                14                                                  ORDER
                15           Presently before the court is petitioner Adrian Fuentes Garcia’s second motion seeking an
                16    extension in which to file a response to the government’s motion to dismiss petitioner’s 28 U.S.C.
                17    § 2255 motion to vacate. (Doc. #259). The government has not responded.
                18           The court previously granted petitioner a 21-day extension, up to and including April 9, 2012,
                19    in which to file his opposition to the motion to dismiss. (Doc. #257). The petitioner did not file the
                20    opposition, or present motion seeking an extension, until after the new deadline had passed. The
                21    court will grant petitioner a second, and final, extension in which to respond to the government’s
                22    motion.
                23           Therefore,
                24           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that petitioner’s motion
                25    seeking an extension (doc. #259) be, and the same hereby is, GRANTED.
                26    ...
                27    ...
                28
James C. Mahan
U.S. District Judge
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                  1          IT IS THEREFORE ORDERED that petitioner shall have up to, and including, May 9, 2012,
                  2   to file his response to the government’s motion to dismiss.
                  3          DATED April 18, 2012.
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                                                           UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                  -2-
